 Case 1:22-cv-01621-MN Document 21 Filed 03/10/23 Page 1 of 2 PageID #: 357




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 JPMORGAN CHASE BANK, N.A.,                       )
                                                  )
                        Plaintiff,                )
                                                  )
        v.                                        )
                                                  )
 CHARLIE JAVICE, OLIVIER AMAR,                    )
 CHARLIE JAVICE, in her capacity as Trustee       )
 of CHARLIE JAVICE 2021 IRREVOCABLE               )         C.A. No. 22-01621-MN
 TRUST #1, CHARLIE JAVICE, in her                 )
 capacity as Trustee of CHARLIE JAVICE            )
 2021 IRREVOCABLE TRUST #2, and                   )
 CHARLIE JAVICE in her capacity as Trustee        )
 of CHARLIE JAVICE 2021 IRREVOCABLE               )
 TRUST #3,                                        )
                                                  )
                          Defendants.             )


                               STIPULATION TO EXTEND TIME
       IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto,

through their undersigned counsel and subject to the approval of the Court, that the time for

Plaintiff JPMorgan Chase Bank, N.A. (“Plaintiff”) to respond to Defendant Olivier Amar’s

(“Defendant”) Motion to Dismiss (D.I. 14) is extended through and including March 29, 2023.

The deadline for Defendant’s Reply Brief is extended through and including April 12, 2023.
Case 1:22-cv-01621-MN Document 21 Filed 03/10/23 Page 2 of 2 PageID #: 358




Dated: March 10, 2023

POTTER ANDERSON & CORROON LLP                KOBRE & KIM LLP


By: /s/ Jonathan A. Choa                     By: /s/ Jacob R. Kirkman
    Peter J. Walsh, Jr. (#2437)                  Jacob R. Kirkham (# 5768)
    Michael A. Pittenger (#3212)                 600 North King Street, Suite 501
    Jonathan A. Choa (#5319)                     Wilmington, Delaware 19801
    Carla M. Jones (#6046)                       (302) 518-6460
    Hercules Plaza                               Jacob.Kirkham@kobrekim.com
    P.O. Box 951
    Wilmington, DE 19899                     OF COUNSEL:
    (302) 984-6000
    mpittenger@potteranderson.com            Steven G. Kobre
    pwalsh@potteranderson.com                Sean S. Buckley
    jchoa@potteranderson.com                 800 Third Ave
    cjones@potteranderson.com                New York, New York 10022
                                             (212) 488-1200
OF COUNSEL:
                                             Attorneys for Defendant Olivier Amar
William M. Regan
Allison M. Wuertz
HOGAN LOVELLS US LLP
390 Madison Avenue
New York, NY 10017
(212) 918-3000

Attorneys for Plaintiff
JPMorgan Chase Bank, N.A.



      SO ORDERED this         day of March, 2023.




                                              _________________________________
                                               UNITED STATES DISTRICT JUDGE




                                         2
